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12
13                        UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16     SECURITIES AND EXCHANGE                     Case No. 3:18-cv-02287-GPC-BLM
17     COMMISSION,
                                                   PLAINTIFF SECURITIES AND
18                 Plaintiff,                      EXCHANGE COMMISSION’S
19                                                 OPPOSITION TO
             vs.                                   DEFENDANTS’ EX PARTE
20                                                 APPLICATION (Dkt. Nos. 30-32)
       BLOCKVEST, LLC and REGINALD
21     BUDDY RINGGOLD, III a/k/a RASOOL            PRELIMINARY INJUNCTION
       ABDUL RAHIM EL,                             HEARING:
22                                                 Date: November 16, 2018
                   Defendants.                     Time: 3:00 p.m.
23
                                                   Place: United States Courthouse
24                                                        221 West Broadway
                                                          Courtroom 2D (Schwartz)
25                                                        San Diego, CA 92101
26                                                 Judge: Hon. Gonzalo P. Curiel
27
28
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 1    I.    INTRODUCTION
 2          Pending before this Court is plaintiff Securities and Exchange Commission
 3    (“SEC”)’s motion for a preliminary injunction and associated relief, now set to be
 4    heard November 16, 2018, following two continuances requested by defendants. The
 5    SEC files this response to defendants’ ex parte application—filed well after their
 6    opposition to the SEC’s motion—seeking an evidentiary hearing and leave to file 27
 7    additional declarations in opposition to the SEC’s motion. For the reasons set forth
 8    herein, the SEC submits that defendants’ request is unwarranted at this juncture.
 9          The SEC brought this action to stop defendants’ widely-promoted Blockvest
10    ICO, for which they were, until the Court issued the TRO, actively soliciting
11    investors through numerous misrepresentations and deceptive acts. The voluminous
12    record before the Court, including the evidence submitted by the SEC and the many
13    admissions in defendants’ own recent deposition testimony, amply justifies the
14    requested relief. The SEC has made a prima facie showing of defendants’ violations
15    of the antifraud and registration provisions of the federal securities laws, and shown a
16    reasonable likelihood that such violations will continue unless preliminarily enjoined.
17          Defendants’ application, filed days before the scheduled hearing and more than
18    a week after their opposition papers, is no more than a thinly disguised and
19    unauthorized sur-reply. The application in no way identifies how an evidentiary
20    hearing would be helpful to resolving contested issues of fact. Rather, the application
21    confirms that the disputed matters before the Court are issues of law. Defendants’
22    proposed additional evidence is both duplicative of and inconsistent with their prior
23    filings, and they offer no reason for its untimeliness. One-third of the proposed new
24    declarants previously provided declarations—or in Ringgold’s case, three prior
25    declarations. In short, defendants’ application does not alter the fact that the SEC has
26    made the necessary prima facie showing, which defendants have failed to rebut. 1
27
      1
        To the extent that defendants are permitted to file the proposed additional evidence,
28    the SEC requests a limited opportunity to brief its substantive response to that
      evidence.
                                                1
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 1    II.   THE CURRENT EVIDENTIARY RECORD STRONGLY SUPPORTS
 2          ENTRY OF A PRELIMINARY INJUNCTION
 3          As a “governmental agency acting as a ‘statutory guardian charged with
 4    safeguarding the public interest in enforcing the securities laws,’” the SEC, for the
 5    relief it requests, must make a two-part showing of: “(1) a prima facie case of
 6    previous violations of federal securities laws, and (2) a reasonable likelihood that
 7    the wrong will be repeated.” Dkt. No. 5 at 4-5 (citations omitted). As set forth in
 8    the SEC’s prior briefing (Dkt. Nos. 3-1, 27), the evidence presently before the
 9    Court more than satisfies both prongs. The SEC has demonstrated, and defendants
10    have failed to challenge or rebut, that defendants offered and sold unregistered
11    securities, while making materially false statements about their registration status
12    with the SEC and other regulators and their affiliation with Deloitte, and
13    misleadingly brandishing the logos of the SEC, other regulators, Deloitte, and their
14    self-created, inherently deceptive, fictitious regulator, the “BEC.”
15           In opposing the motion, defendants do not appear to contest that they
16    disseminated materially false representations while promoting their unregistered
17    offering. Rather, they attempt to contest the SEC’s prima facie case by arguing
18    that their misrepresentations were not made in connection with securities
19    transactions; that the Blockvest investments were not in fact securities; or that
20    defendants did not act with scienter (or negligence, under Section 17(a)(2) and
21    (3)). These issues can all be determined as a matter of law based on the evidence
22    presently before the Court.
23          Ninth Circuit precedent provides that a motion for preliminary injunction
24    may be decided upon the written record and oral argument; the decision whether to
25    hold an evidentiary hearing is within the Court’s discretion. See Intl. Molders’ and
26    Allied Workers’ Local Union No. 164 v. Nelson, 799 F.2d 547, 554-556 (9th Cir.
27    1999) (affirming imposition of preliminary injunction over objection that “an
28    evidentiary hearing was required to resolve disputed facts;” holding that “[w]e
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 1    choose not to follow the [] presumption in favor of evidentiary hearings”). Thus,
 2    “[d]espite the existence of factual disputes, there is no need for oral testimony
 3    where the disputed facts ‘are amenable to complete resolution on a paper record.’”
 4    Judge Beverly Reid O’Connell & Judge Karen L. Stevenson, Rutter Group Prac.
 5    Guide Fed. Civ. Pro. Before Trial, Ch. 13-2 (March 2018) (citations omitted); see
 6    also Stanley v. University of Southern California, 13 F.3d 1313, 1326 (9th Cir.
 7    1994) (“In this circuit, the refusal to hear oral testimony at a preliminary injunction
 8    hearing is not an abuse of discretion if the parties have a full opportunity to submit
 9    written testimony and to argue the matter”); FTC v. John Beck Amazing Profits,
10    LLC, 2:09-cv-4719-FMC-FFMx, 2009 WL 10654699, at **1-2 (C.D. Ca. Aug. 11,
11    2009) (denying ex parte application to present live witnesses in opposition to
12    preliminary injunction, finding that “declaration testimony” was sufficient, noting
13    that “an evidentiary hearing addressing each dispositive issue would not be
14    practical, and would likely consume an extended period of time” and would
15    therefore “be not simple, not helpful, not necessary, and not practical”).2
16          Defendants offer no explanation why an evidentiary hearing would be
17    helpful or practical here. Defendants first propose that the Court “hear live
18    testimony from the allegedly defrauded investors and Mr. Ringgold and to consider
19    the declarations submitted herewith” (App. at 5), presumably to address the issue
20    defendants identify as “reliance.” But the SEC is not required to show that any
21    individual investor relied on defendants’ representations—only that the
22    representations coincided with defendants’ offers and/or sales of securities and
23
24    2
       The two cases cited by defendants have no bearing here. See App. at 5. In
      Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008), the Supreme
25    Court held that a preliminary injunction sought by a private party may not issue
      upon the mere possibility, rather than the likelihood, of irreparable injury. And in
26    American Trucking Assocs., Inc. v. City of Los Angeles, 559 F.3d 1046 (2009), the
      Ninth Circuit reversed the denial of a preliminary injunction on other grounds,
27    noting the applicability of the Winter standard. Neither case involved the standard
      for a preliminary injunction sought by a regulator, nor the circumstances under
28    which an evidentiary hearing is appropriate.
                                                 3
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 1    were material. The SEC’s evidence—including testimony from Ringgold and
 2    other members of Blockvest’s management—demonstrates that defendants were
 3    soliciting investors online and accepting credit card payments on their website, as
 4    well as digital assets. See, e.g., Dkt. No. 27-18 at 14, 41-42 [Ringgold excerpts];
 5    27-17 at 8, 11-12, 29-30 [Bandoy excerpts]; Dkt. No. 27-20 at 8-9, 15 [Sheppard
 6    excerpts]. Defendants have likewise admitted that whether or not the offering was
 7    registered with the SEC would have been important to investors. See, e.g., Dkt.
 8    No. 27-17 at 43.
 9           Next, defendants argue that they should be permitted to “explain their
10    mental processes” and “detail why the relief requested” is not warranted (App. at
11    5-6), apparently suggesting they would use the hearing to address scienter and/or
12    the scope of the requested relief. But defendants do not explain how an evidentiary
13    hearing would be helpful to either end—for example, how any witnesses they
14    intend to call would address matters of fact that cannot be resolved on the basis of
15    the current record. As for defendants’ scienter or negligence, the evidence before
16    the Court already contains ample admissions of defendants’ contemporaneous
17    knowledge of the misrepresentations, and control over their public dissemination.
18    See, e.g., Dkt. No. 27-18 at 38-39, 43, 51-52. Nor do defendants explain why oral
19    argument would not adequately permit defendants to challenge the scope of the
20    requested relief.3
21    III.   THE PROPOSED ADDITIONAL EVIDENCE IS UNTIMELY
22           Defendants also seek leave to submit 27 additional declarations and exhibits.
23    But defendants should not be granted a “redo” of their opposition papers and the
24    supporting evidence.
25           Of the declarations defendants seek to file, nine are from individuals who
26    3
       Even with their latest proposed filings, defendants still have yet to document the
27    basis for their requested modification of the asset freeze for reasonable living
28    expenses, information the SEC has been requesting from the outset. See Dkt. No.
      27-2 at 2, 6, 14-15.
                                                 4
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 1    previously submitted nearly identical declarations concerning their investments in
 2    Blockvest through Rosegold. Defendants now seek leave to resubmit them, with
 3    certain new information and with new attachments. Compare Dkt. No. 24-2 with
 4    Dkt. No. 31. Ringgold’s own proposed declaration contains proposed declarations
 5    from eleven other people, as well as further information and documents he
 6    proposes the Court consider. See Dkt. No. 32. Yet Ringgold submitted two prior
 7    declarations in support of his accounting, as well as another declaration in
 8    opposition to the SEC’s motion, some of which are duplicative of this latest
 9    proposed filing. See Dkt. Nos. 18, 21-1, 21-4; compare Dkt. No. 32-4 at 3-5 with
10    Dkt. No. 24-1 at 2-4 (duplicate copies of Jack Bensimon’s Linked-In profile). His
11    latest proposed declaration contains financial information not included in either
12    prior accounting he submitted. Compare Dkt. No. 32 ¶¶ 33-34 with Dkt. No. 24 ¶¶
13    5, 11-12. Defendants offer no justification for submitting this proposed additional
14    evidence far after the deadline for their opposition brief.
15          The SEC respectfully requests that if this evidence is accepted in connection
16    with a hearing of any kind before this Court, then the SEC be granted leave to first
17    file a sur-reply, not to exceed five pages, to address the substance of these new
18    proposed filings.
19    Dated: November 14, 2018
20                                                   /s/ Amy Jane Longo
21                                                   Amy Jane Longo
                                                     Attorneys for Plaintiff
22                                                   SECURITIES AND EXCHANGE
23                                                   COMMISSION

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 1                                  PROOF OF SERVICE

 2    I am over the age of 18 years and not a party to this action. My business address is:
 3          U.S. SECURITIES AND EXCHANGE COMMISSION,
            400 S. Flower Street, Suite 900, Los Angeles, California 90071
 4          Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
 5    On November 14, 2018, I caused to be served the document entitled PLAINTIFF
      SECURITIES AND EXCHANGE COMMISSION’S OPPOSITION TO
 6    DEFENDANTS’ EX PARTE APPLICATION (Dkt. Nos. 30-32) on all the
 7    parties to this action addressed as stated on the attached service list:

 8    ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
      collection and mailing today following ordinary business practices. I am readily
 9    familiar with this agency’s practice for collection and processing of
      correspondence for mailing; such correspondence would be deposited with the
10    U.S. Postal Service on the same day in the ordinary course of business.

11           ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed
      envelope(s), which I personally deposited with the U.S. Postal Service. Each such
12    envelope was deposited with the U.S. Postal Service at Los Angeles, California,
      with first class postage thereon fully prepaid.
13           ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
14    facility regularly maintained at the U.S. Postal Service for receipt of Express Mail
      at Los Angeles, California, with Express Mail postage paid.
15    ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to
16    the office of the addressee as stated on the attached service list.

17    ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s)
      designated by United Parcel Service (“UPS”) with delivery fees paid or provided
18    for, which I deposited in a facility regularly maintained by UPS or delivered to a
      UPS courier, at Los Angeles, California.
19    ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail
20    to the electronic mail address as stated on the attached service list.

21    ☒      E-FILING: By causing the document to be electronically filed via the
      Court’s CM/ECF system, which effects electronic service on counsel who are
22    registered with the CM/ECF system.

23    ☐     FAX: By transmitting the document by facsimile transmission. The
      transmission was reported as complete and without error
24          I declare under penalty of perjury that the foregoing is true and correct.
25
      Date: November 14, 2018                   /s/ Amy Jane Longo
26
                                                Amy Jane Longo
27
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                                                6
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                               SEC v. Blockvest LLC, et al.
 1            United States District Court – Southern District of California
                           Case No. 3:18-cv-02287-GPC-BLM
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